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                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  IN RE: Amy Kempczynski
                                  Debtor                                         Chapter 13

  State Financial Network LLC
                                  Movant
                 vs.                                                         NO. 18-16269 ELF

  Amy Kempczynski
                                  Debtor
                                                                            11 U.S.C. Section 362
  and Kenneth E. West, Esq.
                                  Trustee


                                                      ORDER
         AND NOW, this 8th       day of      August   , 2022 upon the filing of a Certification of Default by the
Movant in accordance with the Stipulation of the parties approved on October 15, 2020, it is ORDERED that
the automatic stay ounder 11 U.S.C. Sections 362 and 1301 (if applicable), is modified to allow State
Financial Network LLC and its successor in title to proceed with the execution process through, among other
remedies but not limited to Sheriff's Sale regarding the premises 134 Meadowbrook Lane Brookhaven, PA
19015.




         The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.




                                                ______________________________________
                                                 ERIC L. FRANK
                                                 U.S. BANKRUPTCY JUDGE
